 4:03-cr-03148-RGK-DLP           Doc # 91         Filed: 04/28/05   Page 1 of 7 - Page ID # 401


                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                      Case Number 4:03CR3148

                                                        USM Number 18255-047

SHERRY G. ALAM JACKSON
                 Defendant
                                                        John Aman

                                                        Defendant’s Attorney
___________________________________

                    AMENDED JUDGMENT IN A CRIMINAL CASE
              ON MOTION OF THE GOVERNMENT AFTER INITIAL SENTENCING
                      (For Offenses Committed On or After November 1, 1987)

Date of Original Judgment: April 26, 2004
(Or Date of Last Amended Judgment)

Reason for Amendment:
      Reduction of Sentence for Changed Circumstances (Fed. R. Crim. P. 35(b))


NOTE: TO BUREAU OF PRISONS

      THE PRISON SENTENCE WAS NOT REDUCED–ONLY THE TERM OF SUPERVISED
RELEASE WAS REDUCED. THE COURT STRONGLY RECOMMENDS THAT THE DEFENDANT BE
KEPT AT CH IN COUNCIL BLUFFS, IA, HER CURRENT PLACE OF INCARCERATION


THE DEFENDANT pleaded guilty to count I of the Indictment on 2/4/04.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                          Date Offense            Count
    Title & Section         Nature of Offense              Concluded            Number(s)


 21 USC 846               Conspiracy to                September 30, 2003            I
                          manufacture and
                          distribute and possess
                          with intent to distribute
                          methamphetamine

The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.
 4:03-cr-03148-RGK-DLP          Doc # 91      Filed: 04/28/05      Page 2 of 7 - Page ID # 402




IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                  Date of Imposition of Sentence:
                                                                                    April 27, 2005

                                                                   s/ Richard G. Kopf
                                                                      United States District Judge

                                                                             April 28, 2005
 4:03-cr-03148-RGK-DLP              Doc # 91    Filed: 04/28/05   Page 3 of 7 - Page ID # 403


Defendant: SHERRY G. ALAM JACKSON                                                          Page 3 of 7
Case Number: 4:03CR3148


                                         IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of thirty-seven (37) months.

The Court makes the following recommendations to the Bureau of Prisons:

1.      Following the granting of the Rule 35(b) motion of the government, the Court recommends
        in the strongest possible terms that defendant be maintained at CCH until her release date.

The defendant is released to return to CCH in Council Bluffs, Iowa.


                               ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______

                                                             _____________________________
                                                                     Signature of Defendant

                                               RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.

                                                        __________________________________
                                                               UNITED STATES WARDEN


                                                    By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt , above.

                                          CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______
                                                        __________________________________
                                                                 UNITED STATES WARDEN

                                                    By:__________________________________
 4:03-cr-03148-RGK-DLP              Doc # 91   Filed: 04/28/05     Page 4 of 7 - Page ID # 404


Defendant: SHERRY G. ALAM JACKSON                                                            Page 4 of 7
Case Number: 4:03CR3148


                                     SUPERVISED RELEASE

It is ordered that upon release from imprisonment, the defendant‘s term of supervised release is
reduced from the original term of five (5) years to a term of three (3) years.

The defendant shall report to the probation office in the district to which the defendant is released
within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain
from any unlawful use of a controlled substance. The defendant shall submit to one drug test
within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the
defendant pay in accordance with the Schedule of Payments sheet of this judgment.

The defendant must comply with standard conditions that have been adopted by this court as well
as with any additional conditions on the attached page.

                         STANDARD CONDITIONS OF SUPERVISION

1.      The defendant shall not leave the judicial district without the permission of the court or
        probation officer;
2.      The defendant shall report to the probation officer and shall submit a truthful and complete
        written report within the first five days of each month;
3.      The defendant shall answer truthfully all inquiries by the probation officer and follow the
        instructions of the probation officer;
4.      The defendant shall support his or her dependents and meet other family responsibilities;
5.      The defendant shall work regularly at a lawful occupation, unless excused by the probation
        officer for schooling, training, or other acceptable reasons;
6.      The defendant shall notify the probation officer at least ten days prior to any change in
        residence or employment;
7.      The defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
        use, distribute, or administer any controlled substance or any paraphernalia related to any
        controlled substances, except as prescribed by a physician;
8.      The defendant shall not frequent places where controlled substances are illegally sold,
        used, distributed, or administered;
9.      The defendant shall not associate with any persons engaged in criminal activity and shall
        not associate with any person convicted of a felony, unless granted permission to do so by
        the probation officer;
10.     The defendant shall permit a probation officer to visit him or her at any time at home or
        elsewhere and shall permit confiscation of any contraband observed in plain view of the
        probation officer;
11.     The defendant shall notify the probation officer within seventy-two hours of being arrested
        or questioned by a law enforcement officer;
12.     The defendant shall not enter into any agreement to act as an informer or a special agent
        of a law enforcement agency without the permission of the court;
 4:03-cr-03148-RGK-DLP              Doc # 91       Filed: 04/28/05        Page 5 of 7 - Page ID # 405


Defendant: SHERRY G. ALAM JACKSON                                                                     Page 5 of 7
Case Number: 4:03CR3148


13.     As directed by the probation officer, the defendant shall notify third parties of risks that may
        be occasioned by the defendant’s criminal record or personal history or characteristics and
        shall permit the probation officer to make such notifications and to confirm the defendant’s
        compliance with such notification requirement.



                             SPECIAL CONDITIONS OF SUPERVISION


1.      Paragraph # 7 of the Standard Conditions of supervision is modified, i.e., instead of merely refraining
        from excessive use of alcohol, the defendant shall not purchase or possess, use, distribute, or
        administer any alcohol, just the same as any other narcotic or controlled substance.

2.      The defendant shall be subject to the search of the defendant’s premises, vehicle or person, day or
        night, with or without a warrant, at the request of the probation officer to determine the presence of
        alcohol and/or controlled substances, firearms or any other contraband. Any such items found may
        be seized by the probation officer. This condition may be invoked with or without the cooperation of
        law enforcement officers.

3.      The defendant shall attend, pay for and successfully complete any diagnostic evaluations, treatment
        or counseling programs, or approved support groups (e.g., AA/NA) for alcohol and/or controlled
        substance abuse, as directed by the probation officer.

4.      The defendant shall participate in a victim awareness program as directed by the probation officer.

5.      The defendant shall complete 100 hours of community service as approved and directed by the
        probation officer. The defendant shall be responsible for providing the probation officer with written
        proof of the number of hours completed.

6.      The defendant shall attend, successfully complete, and pay for any mental health diagnostic
        evaluations and treatment or counseling programs as directed by the probation officer.

7.      The defendant shall provide the probation officer with access to any requested financial information.

8.      Pursuant to 18 U.S.C. § 3583 (d), the defendant shall submit to a drug test within fifteen (15) days
        of release on supervised release and at least two (2) periodic drug tests thereafter to determine
        whether the defendant is using a controlled substance. Further, the defendant shall submit to such
        testing as requested by any probation officer to detect the presence of alcohol or controlled
        substances in the defendant’s body fluids and to determine whether the defendant has used any of
        those substances. Based on the defendant’s ability to pay, the defendant shall pay for the collection
        of urine samples to be tested for the presence of alcohol and/or controlled substances in an amount
        to be determined by the probation officer.

9.      The defendant shall report to the Supervision Unit of the U.S. Probation Office for the District of
        Nebraska between the hours of 8:00 a.m. and 4:30 p.m., 100 Centennial Mall North, 530 U.S.
        Courthouse, Lincoln, Nebraska, (402) 437-5223, within seventy-two (72) hours of release from
        confinement and, thereafter, as directed by the probation officer.
 4:03-cr-03148-RGK-DLP              Doc # 91    Filed: 04/28/05   Page 6 of 7 - Page ID # 406


Defendant: SHERRY G. ALAM JACKSON                                                        Page 6 of 7
Case Number: 4:03CR3148


                               CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                        Total Fine              Total Restitution

 $100.00 (BALANCE OF
   $25.00 REMAINS)



                                                 FINE

        No fine imposed.


                                          RESTITUTION

        No restitution was ordered.
 4:03-cr-03148-RGK-DLP              Doc # 91       Filed: 04/28/05    Page 7 of 7 - Page ID # 407


Defendant: SHERRY G. ALAM JACKSON                                                               Page 7 of 7
Case Number: 4:03CR3148


                                     SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay; payment of the total criminal monetary penalties
shall be due as follows:

       The defendant shall pay the special assessment in the amount of $100. A balance of
$25.00 remains.

Unless the court has expressly ordered otherwise in the special instruction above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation officer or the United States attorney.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska,
P.O. Box 83468, Lincoln, NE 68501.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly payment
amount, as ordered by the court. In the event a defendant is able to make a full or substantial
payment toward the remaining criminal monetary penalty, he or she shall do so immediately.

The defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the criminal
monetary penalty.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3)
restitution interest, (4) fine principal, (5) community restitution, (6) fine interest (7) penalties, and
(8) costs, including cost of prosecution and court costs.



CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
